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                             UNITED           STATES    DISTRICT          COURT
                                                                                               NOV 18 2013
                             EASTERN DISTRICT                 OF   VIRGINIA
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                                                                                     ^___      NORFOLK, VA
  SAMUEL    LOWE,


               Petitioner,
                                                                         Criminal    No.:      4:10crl32
  v.                                                                        Civil    No.:      4:12cv93


  UNITED    STATES    OF AMERICA,


               Respondent.

                                        OPINION         AND    ORDER


         This matter is before the Court on petitioner Samuel Lowe's

  ("Petitioner")       Motion to Vacate,                  Set Aside,         or Correct Sentence,

  filed pursuant       to    28     U.S.C.         § 2255.          Petitioner's          § 2255 motion

  alleges    that    the     Court        committed           reversible      error       through:         (1)

  applying     improper            sentencing            enhancements;              (2)     failing         to

  properly     consider           the     §    3553(a)         sentencing         factors;          and    (3)

  accepting Petitioner's                involuntary guilty plea as                        to    a   firearm

  charge.     Petitioner also alleges that his lawyer was ineffective

  for failing to:           (1)    object          to   the    drug weight as             calculated at

  sentencing;        (2)     object           to    sentencing            enhancements;             and    (3)

  refute    claims     of     conspiracy.                After          reviewing    the       briefs     and

  case     file,     the    Court         finds         that       an    evidentiary           hearing      is

  unnecessary       because         the       record      conclusively            demonstrates            that

  Petitioner is       not entitled to                   relief.          See R.     Governing        § 2255

  Proceedings in U.S.              Dist.       Cts.     8(a).           For the   reasons discussed

  below,    Petitioner's          § 2255 motion is DISMISSED and DENIED.
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                        I.    FACTUAL         AND    PROCEDURAL      BACKGROUND


          On January 19,             2 011,    pursuant to          a written plea agreement,

  Petitioner pled guilty to                     Count       One    and Count             Fourteen of         the

  Indictment       in    this        case.          Count     One    charges             Petitioner        with

  Conspiracy       to    Distribute            One     Kilogram          or       More    of    Heroin,       in

  violation       of    21    U.S.C.      §§        846,    841(a)(1)         and        (b)(1)(A).          The

  statutory punishment for Count One is imprisonment for not less

  than    ten    (10)        years     and     not     more       than    life.           Count      Fourteen

  charges    Petitioner with Possession of                           a    Firearm         in Furtherance

  of   Drug Trafficking,               in violation of              18    U.S.C.         § 924(c).           The

  statutory punishment for Count Fourteen is a consecutive term of

  imprisonment          of    not     less      than       five    years,          and    not       more    than

  life.


          On May 2, 2011,             Petitioner appeared before the Court,                                with

  counsel,       for    sentencing.             The        Presentence         Investigation Report

  ("PSR")    calculated          Petitioner's              Base    Offense         Level       as    Level    34

  based     on    the    attribution            of     approximately               five     kilograms         of

  heroin.       PSR Worksheet           A,     ECF     No.    134;       U.S.S.G.          § 2Dl.l(c)(3).

  Petitioner's Offense Level was then increased by 3 levels to a

  Level    37 based on Petitioner's role as a manager or supervisor

  of other criminal participants.                            PSR Worksheet A,                  ECF No.      134;

  U.S.S.G.       § 3Bl.l(b).            Petitioner           received         a    3-level       credit      for

  acceptance       of        responsibility,               resulting          in    an     Offense         Level
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  Total,    of    Level           34.        PSR    Worksheet        D,    ECF       No.       14 0;    U.S.S.G.

  §   3E1.1.


          Petitioner's criminal record resulted in a Criminal History

  Category of          I, based on a total of one Criminal History point.

  Petitioner          was    assigned             one    point      for    a    1996       conviction           for

  "Driving       While       Impaired."                 Because     Petitioner             qualified           as    a

  Category       I,     the        lowest         Criminal       History         Category              under    the

  Guidelines,          his Guideline range was not                         increased based on his

  criminal        record.               Furthermore,             because        Petitioner              was     not

  charged      with        being        a    felon       in   possession          of       a    firearm,        and

  because      his     sentence             was    not    otherwise        enhanced based on                    any

  prior     "felony"              convictions,            the       classification               of      any        of

  Petitioner's prior offenses as                          "misdemeanors"             or        "felonies"       was

  at the time,         and remains,               irrelevant.

          Based       on     an     Offense         Level       Total      of    34        and    a      Criminal


  History Category of I,                    Petitioner's advisory Guideline range for

  Count    One was         151-188 months.                The    Court     sentenced Petitioner to


  151 months         on Count One,                which was       the     low-end of            the Guideline

  range.       As required by statute,                        the Court imposed a consecutive

  sentence of          60    months          on Count         Fourteen,         resulting          in a        total

  sentence        of        211     months.              Petitioner            did     not        appeal         his

  conviction           or     sentence,             and       his     conviction               and       sentence

  therefore became "final" fourteen days after sentencing.
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        On June 6,           2012,       Petitioner filed the instant § 2255 motion

  and memorandum in support.                         Such motion was filed approximately

  one   year      and        three       weeks       after    Petitioner's         conviction             and

  sentence became             final.          The Court       subsequently issued an Order

  instructing the             government         to    file     a   responsive         brief,       and    in

  its   response,        the    government            challenged Petitioner's                 motion as

  untimely and alternatively argued that such motion lacked merit.

  Petitioner       filed a          reply brief,          and more        recently          submitted a

  supplemental brief.                This matter is therefore ripe for review.

                 II.    STANDARD         OF    REVIEW AND      LIMITATIONS        PERIOD


                               A.    §    2255 Standard of Review


        A federal prisoner,                    in custody,      may collaterally attack his

  sentence or conviction by moving the district court                                       "to vacate,

  set   aside     or    correct          the    sentence."          28   U.S.C.    §    2255(a).           To

  obtain    such        relief,      a    petitioner          bears      the   burden of           proving

  that his sentence or conviction was "imposed in violation of the

  Constitution          or    laws       of    the    United    States,"       that     the        district

  court    "was    without          jurisdiction to            impose      such sentence,"              that

  the   sentence        exceeds          "the maximum authorized by                    law,"       or   that

  the   sentence or conviction is                      "otherwise        subject       to    collateral

  attack."        Id.        A petitioner must prove the asserted grounds for

  relief    by    a     preponderance            of    the    evidence.         Miller        v.    United

  States,    261       F.2d    546,       547     (4th   Cir.       1958).     Because         a    §   2255

  motion "is ordinarily presented to the judge who presided at the
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  original       conviction           and          sentencing         .        .     .   the      judge's

  recollection of the events at issue may enable him summarily to

  dismiss a      § 2255 motion."                   Blackledge v.          Allison,       431 U.S.       63,

  74 n.4    (1977).

          A § 2255 motion is, in essence,                        a statutory federal habeas

  corpus action that collaterally attacks a sentence or conviction

  through     the     filing    of    a       new proceeding,             as       contrasted with        a

  direct appeal.           See In re Jones,              226 F.3d 328,              332-33       (4th Cir.

  2000)    ("* [Section] 2255 was intended to afford federal prisoners

  a remedy identical in scope to federal habeas corpus.'"                                         (quoting

  Davis    v.    United        States,         417    U.S.       333,      343       (1974))).          The

  existence      of    the    right    to       pursue      a   collateral           attack does        not

  displace a direct appeal as the                        "usual and customary method of

  correcting trial errors."                    United States v. Allgood, 48 F. Supp.

  2d   554,     558    (E.D.    Va.    1999).           On      the     contrary,        with      limited

  exceptions,         a petitioner advancing new claims                             asserted for the

  first time in a § 2255 motion "must clear a significantly higher

  hurdle      than would       exist          on   direct       appeal."            United     States    v.

  Frady,      456     U.S.     152,       166       (1981).           Accordingly,           a     §   2255

  collateral challenge "may not do service for an appeal."                                          Id. at

  165.


          The "higher hurdle" that applies to claims advanced for the

  first time in a § 2255 action exists because,                                    once a defendant's

  opportunity         to     pursue       a     direct       appeal       has        been    waived      or
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  exhausted,       there is          "a final judgment               [that]      commands respect."

  Id.    at 164-65.          Accordingly,              the doctrine of procedural default

  generally prevents a district court from reaching the merits of

  § 2255    claims          that    were        not       raised on direct             appeal       unless    a

  petitioner          can     show:        (1)        "cause"       excusing           the     failure       to

  directly appeal            such alleged errors;                   and    (2)        "actual prejudice

  resulting from the errors of which he complains."                                          United States

  v.    Mikalajunas,          186    F.3d        490,      492-93    (4th     Cir.       1992).         "xThe

  existence       of        cause        for     a    procedural          default        must        turn    on

  something external                to    the defense,          such as          the    novelty of the

  claim,    or a denial of effective assistance of counsel.'"                                         United

  States v. Pettiford,               612 F.3d 270, 280                (4th Cir.          2010)       (quoting

  Mikalajunas,         186     F.3d       at     493) .       As    for    prejudice,           it    is    not

  enough     for       a     petitioner              to    demonstrate           "a     possibility          of

  prejudice,"         but rather,          he must show that errors                      "worked to his

  actual and substantial disadvantage,                             infecting his entire                [case]

  with    error of          constitutional                dimensions."        Frady,          456    U.S.    at

  170.


          Alternatively,             a    petitioner          may    overcome           the     procedural

  default       bar    in    limited circumstances                  by demonstrating                 that    "a

  miscarriage         of     justice           would      result    from      the       refusal       of    the

  court    to     entertain          the        collateral         attack,"           such    as     where    a

  petitioner can demonstrate                         actual    innocence.              Mikalajunas,         186

  F.3d     at      494.       Actual            innocence,          however,            "means        factual
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  innocence,          not         mere       legal         insufficiency"             of      a     conviction.

  Bousley        v.    United           States,          523    U.S.      614,       623-24        (1998);       see

  Mikalajunas,          186 F.3d at 494                   (indicating that a petitioner must

  demonstrate              "actual            factual           innocence").                  A      petitioner

  "asserting          innocence              as     a    gateway        to     defaulted           claims       must

  establish that,               in      light       of    new evidence,              xit is more            likely

  than not          that     no       reasonable          juror would have                 found petitioner

  guilty       beyond       a     reasonable             doubt.'"            House    v.     Bell,       547    U.S.

  518,    536-37       (2006)           (quoting Schlup v.                   Delo,     513    U.S.       298,    327

  (1995)) .

          A     §     2255        petitioner             need      not,       however,            overcome       the

  procedural          default           bar       to      advance        a     freestanding             claim     of

  ineffective          assistance              of       counsel,       which     is properly asserted

  for    the     first       time       in    a     §    2255    motion.         See       United       States    v.

  King,       119 F.3d 290,              295      (4th Cir.           1997)    ("[I]t is          well settled

  that    xa    claim of          ineffective assistance should be raised in a                                    28

  U.S.C.       § 2255 motion in the district court rather than on direct

  appeal,           unless        the        record            conclusively           shows         ineffective

  assistance.'"            (quoting United States v. Williams,                                977 F.2d 866,

  871     (4th      Cir.     1992))).               Such       rule    exists        because       the    Federal

  Rules        Governing          §     2255        Proceedings           permit       expansion          of     the

  record,        which       is        generally          unavailable          on     direct        appeal       and

  often       necessary           to    properly          resolve        an    ineffective           assistance

  claim.         United         States       v.     Baptiste,          596    F.3d     214,       216    n.l    (4th
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  Cir.    2010);       see United States v.                   Allen,       491    F.3d    178,      191    (4th

  Cir.     2007)       (indicating            that    ineffective           assistance         of    counsel

  claims     "are          normally       raised      before        the    district        court      via    28

  U.S.C.    § 2255").

          The     Sixth          Amendment       to     the    Constitution              of   the     United


  States provides that "the accused shall enjoy the right ... to

  have    the     Assistance            of   Counsel     for       his     defence."          U.S.    Const,

  amend.        VI.          The     Supreme          Court     of        the     United      States        has

  interpreted the right to counsel as providing a defendant "'the

  right    to the           effective        assistance of           counsel.'"           Strickland v.

  Washington,              466     U.S.       668,     686      (1984)           (quoting      McMann        v.

  Richardson,          397 U.S. 759, 771 n.14                  (1970)) (emphasis added).                     To

  obtain relief based on an allegation of ineffective assistance a

  petitioner must                establish both that:                (1)        counsel's performance

  fell     below       an        objective      standard        of       reasonableness;             and    (2)

  counsel's            inadequate             performance            caused          the       petitioner

  prejudice.               Id.     at     687-88.           " [U]nsubstantiated               and    largely

  conclusory statements"                     are insufficient to carry a petitioner's

  burden     as       to    the     two      prongs    of     the    Strickland          test.        United

  States v.        Turcotte,        405 F.3d 515,            537    (7th Cir.       2005).

          When evaluating counsel's performance under the first prong

  of Strickland,             courts "must be highly deferential."                             Strickland,

  466 U.S.       at 689;          see Kimmelman v.            Morrison,          477 U.S.     365,    381-82

  (1986)     (discussing the                 "highly demanding"                 Strickland standard).
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  To     establish            constitutionally                  deficient          performance,          a

  petitioner          must    demonstrate            that       his    lawyer      "made       errors   so

  serious       that       counsel        was       not    functioning           as     the     'counsel'

  guaranteed the             defendant       by the        Sixth Amendment."                  Strickland,

  466    U.S.    at    687.        Such a       showing must             go    beyond establishing

  that    counsel's          performance        was       below       average,     since       "effective

  representation is not synonymous with errorless representation."

  Springer       v.    Collins,       586       F.2d      329,     332      (4th      Cir.    1978);    see

  Strickland, 466 U.S. at 687.                       As it is all too easy to challenge

  an act,       omission,         or strategy,            once it has proven unsuccessful,

  "every effort            [must] be made to eliminate the distorting effects

  of    hindsight,           to    reconstruct            the    circumstances           of     counsel's

  challenged conduct,               and    to    evaluate         the    conduct        from    counsel's

  perspective at           the time."           Strickland,            4 66 U.S.      at 689.      Courts

  should      therefore           "indulge      a    strong       presumption          that     counsel's

  conduct falls within the wide range of                                 reasonable professional

  assistance."          Id.


         In      conducting           a      hindsight             evaluation           of      counsel's

  performance,         a     court    must      recognize          that       there     "are    countless

  ways to provide effective assistance in any given case" and that

  "[e]ven the best criminal defense attorneys would not defend a

  particular client in the same way."                            Id.        If defense counsel has

  made    an     adequate          investigation            into      the     facts     and     potential

  lines of defenses,               "the strategic choices made as a result will
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  seldom       if       ever     be       found       wanting."            Id.     at       681       (internal

  quotation             marks        omitted).             Accordingly,           the       difficulty         in

  overcoming the general presumption that defense counsel provided

  effective          assistance           is       even     greater       where     counsel's             actions

  required          a    strategic           "assessment           and     balancing         of       perceived

  benefits against perceived risks"—such strategic decisions must

  be afforded "'enormous deference.'"                               United States v.               Terry,      366

  F.3d     312,          317     (4th        Cir.      2004)       (quoting        United          States       v.

  Kozinski,          16 F.3d 795,            813    (7th Cir.      1994)).

          The    second prong                of     Strickland           requires       a   petitioner          to

  "affirmatively prove prejudice,"                               which requires a showing that

  "there        is      a    reasonable             probability          that,    but       for       counsel's

  unprofessional               errors, the result of the proceeding would have

  been different."                   Strickland,          466 U.S.       at 693-94.           "A reasonable

  probability is a probability sufficient to undermine confidence

  in    the     outcome."              Id.     at    694.        The     Court    applies         a    slightly

  modified              prejudice            standard            when      a     petitioner               alleges

  ineffective               assistance         associated         with     the    entry       of      a    guilty

  plea,       requiring the petitioner to demonstrate                                  that       "there is a

  reasonable probability that,                            but for counsel's errors,                    he would

  not     have       pleaded         guilty         and    would    have       insisted       on      going     to

  trial."            Hill       v.    Lockhart,           474     U.S.    52,     59    (1985).           If   the

  Petitioner             fails       to   prove       either        of    the     two       prongs        of   the

  Strickland test,               the Court need not evaluate the other prong of


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  the    test.     United States v.                      Roane,        378    F.3d 382,           404    (4th Cir.

  2004) .

                                B.    § 2255 Limitations Period

          Generally,       a one-year limitations period governs the filing

  of a § 2255 habeas petition.                            28 U.S.C.           § 2255(f).               The statute

  provides that the one-year period begins to run from the latest

  of    four     factual    scenarios,                see    id.        §    2255 (f) (1)- (4),           three    of

  which are potentially relevant to this case.                                                 First,    according

  to    § 2255(f) (1), the                limitations period may begin on "the date

  on    which     the     judgment             of   conviction              becomes        final."            Second,

  under     §    2255(f)(3),              the       limitations              period       may     alternatively

  start      running       "the           date       on     which            the     right        asserted        was

  initially       recognized              by    the       Supreme           Court,        if    that     right    has

  been      newly         recognized                by      the         Supreme            Court        and      made

  retroactively applicable to cases on collateral review."                                                     Third,

  under     §    2255(f) (4),             the       limitations              period       may     alternatively

  start running "the date on which the facts supporting the claim

  or    claims      presented             could          have     been        discovered            through       the

  exercise of due diligence."

          The     one-year           statutory            limitations               period        in    28     U.S.C.

  § 2255(f)       may,    in certain circumstances,                            be tolled for equitable

  reasons.         Holland           v.    Florida,              130    S.     Ct.        2549,        2560    (2010)

   (citing       Harris    v.    Hutchinson,                209        F.3d        325,    329-30        (4th    Cir.

  2000)     and     similar          holdings             from         ten    other            circuits).         The

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  purpose       of     such     tolling       is       to    provide             some        flexibility       to

  relieve       rare    hardships         that     arise       from a           rigid application of

  the law.        Id.    at 2563.          Equitable tolling of the federal habeas

  limitations          period       is,   however,          only       appropriate             "in    rare    and

  exceptional circumstances."                     Davis v. Johnson,                    158 F.3d 806,          811

   (5th Cir.     1998).

          When applying an equitable                        remedy,         a    district        court       "must

  be governed by rules and precedents no less than" when applying a

  remedy    at       law.      Lonchar       v.       Thomas,       517         U.S.     314,     323    (1996)

   (internal      quotation marks             and citation omitted).                            Accordingly,

  the     Supreme        Court       has     laid        out       a     two          element         test     for

  determining whether to permit equitable tolling for late-filed §

  2255    habeas       petitions.            Holland,         130      S.       Ct.     at    2562.      To     be

  entitled to equitable tolling,                       a petitioner bears the burden of

  demonstrating             "MD       that       he     has     been            pursuing         his     rights

  diligently,          and    (2)    that    some       extraordinary                 circumstance           stood

  in his way'          and prevented timely filing."                             Id.     (quoting Pace v.

  DiGuglielmo,          544 U.S.      408,    418      (2005)).

          The    first        element        requires          that         a     petitioner           exercise

   "reasonable diligence"                 in the pursuit               of       his    rights.         Holland,

  130 S. Ct. at 2565.1                The second element requires a petitioner to


  1 The Supreme Court recently held that when a petitioner asserts a
  credible claim of "actual innocence" such petitioner's failure to
  diligently pursue his rights is not an automatic bar to receiving the
  benefit of equitable tolling.  McQuiggin v. Perkins, 133 S. Ct. 1924,
   1935   (2013).        Here,       Petitioner        makes    no      credible             actual    innocence

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  show "(1) extraordinary circumstances,                           (2)    beyond his control or

  external to his own conduct,                    (3)       that prevented him from filing

  on    time."      Rouse    v.     Lee,     339       F.3d      238,     246       (4th    Cir.     2003) .

  Stated     differently,            to     satisfy              the     two-element           test,      a

  petitioner must           "demonstrate a              causal         relationship between the

  extraordinary          circumstances            .     .    .    and     the       lateness       of   his

  filing."        Valverde v. Stinson,                224 F.3d 129,         134       (2d Cir. 2000).

  This cannot be proven "if the petitioner,                              acting with reasonable

  diligence,"        still     could        have           filed       within        the     limitations

  period.     Id.

                                          III.    DISCUSSION


         Here,     Petitioner's           § 2255        motion advances              three    claims     of

  reversible        Court    error        associated             with     his       guilty     plea     and

  sentencing        and     three        additional          claims        alleging          ineffective

  assistance       of     counsel.         However,          Petitioner             admittedly       missed

  the 28     U.S.C.       § 2255(f)(1)           filing deadline,               and the government

  challenges       the    timeliness        of        Petitioner's         § 2255          motion.      For

  the    reasons        discussed        below,         Petitioner's            §    2255     motion     is

  DISMISSED as untimely.                 Alternatively,            the claims alleging Court

  error     are    DISMISSED        as    procedurally             defaulted.              Finally,     all

  claims alleging Court error and all claims alleging ineffective

  assistance are alternatively DENIED on the merits.


  claim,  and McQuiggin is therefore not                               applicable.          Accordingly,
  Petitioner must satisfy both elements of                             the equitable        tolling test
  set   forth above.

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                                    A.     Motion is Untimely

          Petitioner acknowledges in his § 2255 motion and memorandum

  that    his       petition       was     filed    several       weeks     after    the        filing

  deadline that expired one year after Petitioner's conviction and

  sentence       became      final.         Petitioner,          however,     argues       that     his

  failure      to    file    on     time    should       be    excused    because      Petitioner

  underwent a medical procedure,                    while incarcerated,             on April 24,

  2012.         Although       Petitioner           has       submitted     documentation            to

  demonstrate        that he        underwent       such medical procedure,                he    fails

  to demonstrate that he was                     incapacitated or otherwise unable to

  file     his       motion        by      the     mid-May        deadline,        which        passed

  approximately             three        weeks      after        his     medical       procedure.

  Petitioner          has     thus       failed       to      demonstrate          "extraordinary

  circumstances"            that    were     "beyond       his   control"     that     "prevented

  him from filing on time."                  Rouse, 339 F.3d at 246.2               Furthermore,

  Petitioner has            not submitted any evidence demonstrating that he

  exercised "reasonable diligence"                       in the pursuit of his              rights.

  Holland,      13 0 S. Ct. at 2565.               Finally,      Petitioner has not made a

  credible claim of            actual       innocence.           McQuiggin v.       Perkins,        133

  S.     Ct.    1924,   1935        (2013).        Accordingly,          Petitioner        fails     to


  2 In addition to           the    documents      associated with his         May 2012         medical
  procedure,        Petitioner      also    submits       documentation     indicating       that    he
  underwent an earlier medical procedure in October of 2011. However,
  Petitioner fails to demonstrate that such prior procedure, which
  occurred more than six months before the filing deadline, prevented
  him from timely submitting the pre-printed §                              2255    form    that     he
  ultimately filed with the Court in June of 2012.

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  demonstrate that the one-year limitations deadline set forth in

  § 2255(f)(1)      should be equitably tolled.

        Alternatively,             Petitioner     appears        to   argue     that,    based on

  recent opinions of the Supreme Court and the Fourth Circuit,                                   his

  motion should be deemed timely under the limitations provisions

  set   forth      in      §       2255(f) (3)        (new     retroactive           legal    right

  recognized)      or     §    2255(f)(4)         (new       facts    that     could    not    have

  previously         been           discovered           through          due         diligence).

  Specifically,          Petitioner       appears        to     assert        that    the     Fourth

  Circuit's opinion in United States v. Simmons,                             649 F.3d 237, 244

  (4th Cir. 2011),         and the Supreme Court's more recent decision in

  Alleyne v. United States, 133 S. Ct. 2151 (2013)3 somehow operate

  to make his       petition timely.                  However,       neither of       these    cases

  can be applied to extend the applicable statute of limitations

  for Petitioner,         nor do they otherwise have any relevance to his

  § 2255    motion.           In    Simmons,     the     Fourth       Circuit    addressed       the

  necessary threshold for a prior state conviction to qualify as a

  "felony" for the purposes of enhancing a subsequent federal drug

  trafficking        conviction.               In       Alleyne,        the     Supreme        Court

  determined      that     a    fact    that     increases        the   statutory       mandatory

  minimum    sentence          applicable        at    sentencing        is    not     subject    to

  judicial fact-finding at               sentencing,          but rather,        must be       found



  3 Petitioner cited Alleyne in a "supplemental brief" that was submitted
  in June   of   2013.

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  by   a    jury or        admitted         to    by    a    defendant         who          enters      a   guilty

  plea.         Here, Petitioner's sentence was not enhanced by any prior

  felony        convictions          (making       Simmons         inapplicable)                  nor   was       his

  mandatory          minimum         increased            based         on    judicial              factfinding

  (making Alleyne inapplicable).                            Accordingly,            Petitioner fails to

  demonstrate          that his motion is timely based on the alternative

  limitations              provisions            set        forth        in         §        2255(f)(3)            or

  § 2255(f) (4) .4

           As    set    forth above,             the    Court      agrees       with         the     government

  that      Petitioner's           §      2255     motion          was       filed          outside         of    the

  § 2255(f)(1)          limitations              period      and     that       Petitioner !fails                  to

  demonstrate           that    this        is    one       of     the       rare        cases      where        such

  limitations          period        should       be      equitably           tolled.             Furthermore,

  Petitioner           fails    to        demonstrate            that    any        of      the     alternative

  limitations periods set forth in § 2255(f)                                   operate to extend the

  filing        deadline.          Accordingly,              Petitioner's               §    2255    motion        is

  DISMISSED as untimely.

                               B. Claims Asserting Court Error

                                     1.    Dismissed for Default


           Petitioner's          claims          asserting          that       the          Court       committed

  error         at   the    plea       hearing         or     at    sentencing               have       all      been


  4 Petitioner's            attempt       to     invoke      §    2255(f)(4)            alternatively            fails
  because Petitioner does not advance any new facts that could not have
  previously been discovered through due      diligence.    Rather,  he
  erroneously argues that the new case law cited above constitutes "new
  evidence."

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  procedurally            defaulted        because,          once     a    criminal          defendant's

  opportunity         to     pursue        a     direct        appeal      has     been       waived       or

  exhausted,        there is        "a final judgment               [that]    commands respect."

  Frady,     456 U.S.       at 164-65;          see Gov't's Opp'n Mem.                  4, ECF No.        178

  (noting that any matter that could have been raised on appeal,

  but was not,        is procedurally defaulted) .                        For the Court to even

  reach      the    merits       of      such       defaulted       claims,        Petitioner            must

  demonstrate:        (1)    "cause" excusing the failure to directly appeal

  such alleged            errors;     and       (2)     "actual     prejudice           resulting        from

  the   errors       of    which      he    complains."             Mikalajunas,             186   F.3d    at

  4 92-93.         Because,      here,         Petitioner        has      failed        to    demonstrate

  either cause or prejudice as to his allegations of Court error,

  Petitioner's claims are DISMISSED as procedurally defaulted.

                                    2.     Denial on the Merits


          Alternatively,           even        if     Petitioner's        claims        asserting        that

  the Court committed error at                        sentencing were not defaulted,                      the

  Court would deny such claims on the merits.                                    First,        Petitioner

  asserts      that        the   Court         committed        plain       error       by     improperly

  classifying prior convictions as                           "felonies"      and using such fact

  to    enhance      Petitioner's              sentence.         Simmons,        64 9    F.3d      at    247.

  However,         Petitioner's          sentence        was    not       enhanced       based      on    any

  prior conviction being classified as a felony,                                   and Petitioner's

  claim therefore has no basis                        in fact.        Moreover,         Petitioner was

  sentenced as a Criminal History Category I, the lowest iCategory

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  under    the        Guidelines,       meaning    that      not    even    state misdemeanor

  sentences       were     used     to   enhance       Petitioner's         federal        sentence.


  Accordingly,           Petitioner's       first       claim       plainly        fails       on     the

  merits.


          Second,       Petitioner       asserts    that      the     Court       did    not     follow

  the proper steps at sentencing and did not consider the relevant

  § 3553(a)       factors.        Like his prior argument,                  this claim has no

  basis     in    fact,     as    the    advisory      Guidelines          were    calculated          in

  advance        of     sentencing,       both     parties         were     afforded           multiple

  opportunities to challenge the Guideline calculation and/or file

  a departure motion,             and the Court imposed a "low-end" Guideline
                                                                                           j

  sentence after considering,                and rejecting,            Petitioner's request

  for a downward variance.                  Sent. Tr.         25, 35,       47.         Furthermore,

  the Court not only stated on the record at sentencing that it

  considered all of the § 3553(a)                   factors,        but the Court; reviewed

  the factors on the record,                at length, and specifically discussed

  how they applied to Petitioner's case.                           Sent.   Tr. 37-45, ECF No.

  178-2.     Petitioner's second claim therefore fails on thejmerits.

          Third,       the Court rejects Petitioner's claim that error was

  committed because he              did not       intend to plead guilty to                     the    18

  U.S.C.     §    924(c)     firearm      offense.           Petitioner's         Plea     Agreement

  clearly        indicates       that    Petitioner was            pleading guilty] to              such

  firearm offense,           and the very first numbered paragraph! of such

  document        expressly       states     that      the    penalty       for     such        offense



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  includes       "a mandatory minimum term of                         imprisonment of             five      (5)

  years which must run consecutive to all other sentences; . . . ."

  Plea        Agreement        f   1,     ECF       No.     103.        Similarly,          the       written

  "Statement          of     Facts,"      a    document        signed        by    Petitioner         at   his

  plea hearing,            again states that Petitioner is pleading guilty to

  the    § 924(c)          firearm      count       and expressly notes                  in the       section

  containing           the    stipulated            facts      that    Defendant          possessed         the

  firearm        in     question         "in    furtherance           of     the    drug     trafficking

  crimes described herein."                     Statement of Facts % 11, ECF No. 104.

          Moreover,          the Court asked Petitioner numerous questions at

  the     plea     hearing         to    ensure       that         Petitioner's          plea     was      made

  freely        and    voluntarily            and    with      a    full     understanding            of    the

  charges,        and        Petitioner        admitted         his     guilt       to    the     §     924(c)

  offense while under oath.                      Specifically,             the     Court reviewed the

  924(c)       charge,        reviewed the elements                   that    the government would

  have        to prove beyond a reasonable doubt                             if Petitioner^ were             to

  proceed to trial, and reviewed the mandatory minimum and maximum

  punishments           for the         firearm offense.               Petitioner stated,               under

  oath,       that he understood the seriousness of the penalty provided

  by     law     for       the     §    924(c)       offense.           The       Court     subsequently
                                                                                                  !
  repeated the charges as                      to both the drug trafficking count and

  the     §    924(c)      firearm       count,      and Petitioner               stated,   under oath,

  that he        was       guilty of      such offenses,              that he        was entering his

  plea freely and voluntarily,                       that he was pleading guilty because

                                                          19
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  he    was   in    fact       guilty,       and    that    the    facts       set       forth      in   the

  "Statement of          Facts"       were   true   and correct.


         Because        " [c] ourts must be able to rely on the defendant's

  statements made under oath during a properly conducted Rule                                             11

  plea colloquy,"              § 2255    claims      that contradict            such prior sworn

  statements       are     deemed       "patently         frivolous       or   false"         except      in

  the    case      of    extraordinary             circumstances.              United         States      v.

  Lemaster,        403         F.3d     216,       221      (4th    Cir.       2005).               As    no

  extraordinary           circumstances             exist    here,     Petitioner's              current

  contradictory            statements              are      rejected           by        the        Court.

  Accordingly, Petitioner's third claim fails on the merits.

         For the reasons explained above,                      all of Petitioner!'s claims

  alleging Court error are dismissed as procedurally defaulted and

  alternatively denied on the merits.

                   C. Claims Asserting Ineffective Assistance

         Unlike          procedurally              defaulted        claims           that        directly

  challenge        a     prisoner's          conviction       or     sentence,           it    is    well-

  established           that    ineffective         assistance       of    counsel            claims     are


  properly asserted for the first time in a § 2255 motion.                                           King,

  119    F.3d at        295.      Here,      addressing       the    merits         of    Petitioner's

  various     ineffective assistance claims,                       the Court finds that each

  claim fails to satisfy the two part Strickland standard,                                       and all




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  of     Petitioner's             ineffective        assistance           claims        are (therefore

  denied on the merits.5

                      1. Drug Weight and Associated Challenges

          Petitioner's            first claim of             ineffective assistance appears

  to    focus    on        defense       counsel's        purported        failure       to    challenge

  Petitioner's             drug    weight        calculation        at     sentencing,         but          also
                                                                                               i


  includes numerous other cursory allegations,                               such as          failure to
                                                                                               i


  investigate,         failure to challenge the firearm charge because the

  gun was not found in Petitioner's home, and failure to challenge

  Petitioner's prior convictions                        that enhanced his               sentence.            As

  set    forth below,             all of    such claims are               either contradicted by

  the     record,           entirely         conclusory,            or      otherwise          |fail          to

  demonstrate              constitutionally               deficient         performance                and/or

  resulting prejudice.

          As    to    the     drug    weights,          defense     counsel       did     successfully

  raise a drug weight objection as part of the sentencingjprocess,
  although           the     result        did      not      lower        Petitioner's             jadvisory

  Guideline          range.        Sent.     Tr.     7-10,        13.      Furthermore, |although

  Petitioner stated at                   sentencing that he did not understand why

  he was being attributed with more drugs than that stated in the
                                                                                                   i

  stipulated Statement                of    Facts,        Sent.     Tr.    13,    the    Statement            of

  5    Petitioner's          §    2255     motion       appears     to     include       three         primary
  allegations of ineffective assistance, but also contains various
  cursory references to other forms of deficient performance, i Although
  each and every allegation may not be individually discussed herein,
  each    has   been        considered      by    the     Court,    and    each    is    denied        on    the
  merits.

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  Facts     indicates that Petitioner was responsible for "1 kilogram

  or    more"       of      heroin         and      went        on    to      state       that     "defendant


  acknowledges             that      the    foregoing            statement          of     facts       idoes      not

  describe all of              the defendant's              conduct relating to the offense

  charged in this case."                         Statement of Facts M                      12-13 j(emphasis

  added).        Accordingly,              contrary         to       Petitioner's          argument,          there

  was no "stipulated" specific quantity of heroin set forth in the

  Statement of           Facts.


          Furthermore,             at the         time of his                guilty plea,           tdhe Court

  directly informed Petitioner that                              the Court would consider all

  of    his     conduct           in   determining              his        sentence,        and    Petitioner

  stated       under        oath       that      he    understood             what        the     Court       would

  consider.              See      Sent.       Tr.     18.            At     the     sentencing ,hearing,

  Petitioner directly voiced his concerns regarding drug weights

  in    excess      of      one      kilogram         of    heroin          and     the    Court       carefully

  explained           to     Petitioner             that        he     was        free     to     persist          in

  challenging            the    drug       weight      calculation                and     that    he        had   the

  right to testify at the sentencing hearing, but that if he chose

  to do so,           he could risk losing acceptance of responsibility.6

  Id.     at    13,        18-20.          The      Court       then        took     a    recess       to     allow
                                                                                                        j

  Petitioner and               his     counsel        the       opportunity          to    further! discuss

  the matter and to allow Petitioner to make an informed decision.



  6 Acceptance of responsibility is not awarded where a Defendant falsely
  denies,      or   frivolous          contests,       offense            conduct    or    relevant         conduct.
  U.S.S.G. § 3E1.1 App. n.l(A).                                                                         \
                                                           22
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  After the recess,             Petitioner stated,               under oath,            that he wanted

  to    proceed     to    sentencing          without          further      challenging            his    drug

  weights.        Sent.        Tr.    21.      Such strategic decision is not                             only

  entitled to enormous deference,                         Terry,      366 F.3d at            317,       but on

  these    facts,      appears        to have been the wisest                        course of         action.

  Petitioner        therefore           fails       to     demonstrate               either       deficient


  performance            or     actual         prejudice             as         to     his        counsel's

  representation          regarding          the    drug       weights      that       were      attributed

  to Petitioner at sentencing.

          Similarly,          Petitioner's other unsupported and/or conclusory

  challenges to counsel's performance fail to                                   satisfy Strickland.

  Petitioner not only fails to demonstrate what issues his lawyer

  did not       investigate,           but    fails       to    demonstrate           what       would have

  been    revealed        through       additional             investigation.                Petitioner's

  reference       to     the    location        where      the       firearm         was    recovered        is


  refuted by the              Statement       of    Facts,       a   document          that      Petitioner

  swore was       correct,           and the       PSR,    which collectively demonstrate

  that    the    firearm        was    located under             Petitioner's              bed    pillow     in

  the    "rooming house"             where     Petitioner was              discovered by police.

  Statement of Facts f 11; PSR t 34.                            Furthermore, irrespective of

  the     location       where        the    gun     was        found,      Petitioner             fails     to

  articulate       in     his    motion       any     legal       basis         for    challenging          the

  link     between            such     gun     and        Petitioner's               drug        trafficking
                                                                                                   i

  activities.            Finally,       as     discussed         in       the    preceding             section,

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  Petitioner's       claim         that        is        premised         on     improper          sentencing

  enhancements         due        to     prior          convictions             being       classified            as

  felonies     fails         on        its     face.           The        Court       therefore             denies


  Petitioner's       first         series          of    ineffective            assistance         claims         on


  the merits.


                             2. Failure to Challenge the PSR                                        ]

         Petitioner          separately                 claims           that        his     counsel             was

  ineffective        for      refusing             to        challenge          Petitioner's               PSR     at

  sentencing.          Like       the        previous         claim,       such       claim       appears          to

  focus primarily on the drug weights attributed to Petitioner at

  sentencing.           As        explained             in    detail       above,          the     fact          that

  Petitioner      did      not     expressly             stipulate         to     three      kilograms             or

  more   of   heroin         in    his       written          Statement         of    Facts       is       largely

  irrelevant      to       the      determination                  of    whether        defense!           counsel

  provided constitutionally deficient performance.                                          Petitioner was
                                                                                                       I
  informed by the Court at his guilty plea hearing,                                              and reminded

  by the Court at his sentencing hearing,                                 that his sentence on the

  drug   charge     would be            between ten years                  and       life    imprisonment,

  and that the Court would consider all of his relevant conduct in

  determining the appropriate sentence.                                   Furthermore, inicontrast
                                                                                                       i
  to   Petitioner's          assertion             in    his       §    2255    motion       that          his    PSR

   "inexplicably"          held         him        responsible             for        more       than        three

  kilograms     of      heroin,              the    PSR       explains          this       calculation             in

  detail,     PSR       fH        14-50,           and       the        Court     expressly jafforded

                                                         24
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  Petitioner the opportunity to challenge such drug calculation at

  sentencing,          Sent.       Tr.    19-21.           Nothing        in    Petitioner's            § 2255

  filings       calls    into       question         the     defense's          strategic         choice    at

  sentencing       to     opt       not     to      further        challenge       the       drug       weight

  calculation      in an effort                to   ensure    that     Petitioner            retained the

  3-level credit          for acceptance of responsibility,                              a credit that

  reduced       Petitioner's             advisory Guideline               range    by approximately

  five     to    six     years.            The      instant        claim        therefore         fails      to

  demonstrate constitutionally deficient performance or resulting

  prejudice.

          Petitioner's          claim that his               attorney improperly failed to

  challenge       the        PSR     also        suggests          that        defense       counsel       was

  ineffective          for     failing         to      challenge      the        erroneous             Criminal

  History       calculation          in     the     PSR      and    failing        to    challenge          the

  sentence imposed as either being near the top of the Guideline

  range,       or above        the Guideline               range.         Such additional                claims

  clearly fail to satisfy either prong of Strickland as they find

  no     basis    in     fact.            Petitioner         was     sentenced          as    a        Criminal

  History Category I, the lowest Category possible.                                       SentJ Tr. 25.

  Furthermore,          he was not sentenced at,                    or above,           the high-end of

  the Guideline           range,         but     was    instead       sentenced to the                   lowest

  term of months still within the advisory Guideline range.                                               Sent.
                                                                                                   i


  Tr.    25,     45.         The    Court        therefore         denies       Petitioner's             second

  group of ineffective assistance claims on the merits.

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                                  3. Failure to Refute Conspiracy

          Petitioner's                 final    claim       of    ineffective         assistance          is    that


  defense           counsel           was    ineffective           for     failing     to    challenge           the

  "conspiratorial"                    nature        of Petitioner's              conduct.7         Petitioner

  argues that a single act cannot establish a conspiracy,                                                 nor can

  a     controlled               buy        from     a     government            informant.            However,

  Petitioner's argument on this issue,                                   like the several before it,

  are belied by the factual record in this case.                                          Petitioner's own

  sworn admissions in the Statement of Facts clearly establish his

  7 The Court notes that Petitioner's reply brief asserts,                                     for the first
  time,        that       Petitioner's         counsel      was    also     ineffective      for   failing        to
  timely file an appeal after Petitioner requested that he do so. Such
  claim, to the extent it is even before the Court, is dismissed for
  numerous  reasons.     First,  such   claim,  like  the   entirety  of
  Petitioner's § 2255 motion, is dismissed as filed outside the one-year
  limitations period.                   28 U.S.C. § 2255(f).                 Second, Petitioner did not
  seek leave to amend his initial § 2255 motion to include such claim,
  and the Court therefore declines to reach it.  See Touchcom, Inc. v.
  Bereskin & Parr, 790 F. Supp. 2d 435, 446 (E.D. Va. 2011) (explaining
  that, " [t]ypically, courts will not consider an argument raised for
  the first time in a reply brief" as the "opposing party is prejudiced
  in its ability to respond to the argument"); Snyder v. United States,
  263     F.    App'x 778,             779-80       (11th Cir.           2008)   (affirming thel district
  court's decision not to specifically address a new claim advanced for
  the first time in a § 2255 reply brief).   Third, even if Petitioner's
  original § 2255 motion was deemed timely based on application of
  equitable tolling, and this Court construed the reply brief as a
  request to amend Petitioner's § 2255 motion, Petitioner's |new claim
  would be untimely as it was filed almost three months after the
  original § 2255 motion and does not "relate back" to such motion.  See
  Mayle v. Felix, 545 U.S. 644, 650 (2005) ("An amended habeas petition,
  we    hold,       does        not    relate       back    (and    thereby      escape     AEDPA's       one-year
  time limit) when it asserts a new ground for relief supported by facts
  that differ in both time and type from those the original pleading set
  forth.");         Mustapha v.             United States,         No.    302cr096,    2005 WL 1667682,           at
  *7-9     (E.D.          Va.   June    10,    2005)       (finding that         Fourth Circuit precedent
  precluded the district    court from considering the petitioner's
  ineffective assistance claim grounded in counsel's alleged failure to
  file an appeal because such claim, which was advanced for jthe first
  time         in     a     § 2255          reply    brief,        did     not    "relate     back"j       to    the
  petitioner's original § 2255 motion).                                                               I
                                                             26
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  agreement     and     participation                in        a    multi-year          drug      trafficking

  conspiracy.         Statement of Facts HH 1,                              4,    9-10;       see 'also PSR
  H1I 14-50.      The      instant claim therefore                          fails      to satisfy either

  prong of Strickland, and it is denied on the merits.

                                            IV.    CONCLUSION


         For the reasons set forth above,                             Petitioner's § 2255 motion

  is    DISMISSED          as        untimely.             Moreover,             Petitioner's            claims

  asserting     that        the        Court      committed             error          are     DISMISSED     as

  procedurally        defaulted.                  Alternatively,                 even        if    the    Court

  reaches the merits of Petitioner's untimely and defaulted claims

  asserting       Court          error,        and        his        untimely           claims      asserting

  ineffective assistance of counsel,                               all of such claims are DENIED

  on the merits.


         Finding        that          the    procedural               basis         for       dismissal      of

  Petitioner's       § 2255 motion are not debatable,                                   and alternatively

  finding that Petitioner has not made a                                    "substantial showing of

  the    denial       of        a     constitutional                 right,"        a        certificate     of

  appealability as              to Petitioner's                    § 2255    motion is DENIED.               R.

  Governing § 2255 Proceedings in U.S. Dist.                                     Cts.    11(a); 28 U.S.C.

  §    2253(c)(2);      see          Miller-El       v.    Cockrell,             537    U.S.      322,   336-38

   (2003) .

         Petitioner             is     ADVISED        that           because        a        certificate     of


  appealability is denied by this Court, he may seek a certificate

  from the United States Court of Appeals for the Fourth                                             Circuit


                                                          27
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  R.   Gov.       §    2255    Proceedings           for    U.S.   Dist.      Cts.        11(a).      If

  Petitioner          intends       to   seek    a   certificate       of    appealability          from

  the Court of Appeals,                  he must forward a written notice of appeal

  to   the     Clerk of       the    United States          District    Court,           United States

  Courthouse,          600    Granby Street,           Norfolk,    Virginia,             23510,   within

  sixty (60) days from the date of this Order.

          The Clerk is DIRECTED to forward a copy of                           this Opinion and

  Order      to   Petitioner         and    to   the    United     States     Attorney's           Office

  in Newport News, Virginia.

          IT   IS     SO   ORDERED.




                                                                                     Mmt:
                                                                                   /s/
                                                                            Mark    S.    Davis
                                                              UNITED    STATES       DISTRICT       JUDGE
  Norfolk,        Virginia
  November \*& , 2013




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